         Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                       Entered 03/29/21 18:06:11                 Page 1 of 18


Fill in this information to identify the case:
             Electrotek Corporation
Debtor name __________________________________________________________________

                                        ______________________
United States Bankruptcy Court for the: Northern District of Texas District of _________
                                                                              (State)
Case number (If known):    21-30409-mvl
                          _________________________                                               ___________________________________________



                                                                                                                                        Check if this is an
                                                                                                                                           amended filing


Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                      04/19

The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).


 Part 1:        Income



 1. Gross revenue from business

        None

            Identify the beginning and ending dates of the debtor’s fiscal year, which        Sources of revenue                     Gross revenue
            may be a calendar year                                                            Check all that apply                   (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                            Operating a business                         2,075,411.00
           fiscal year to filing date:           01/01/2021
                                           From ___________         to     Filing date          Other                               $_____________________
                                                  MM / DD / YYYY


           For prior year:                       01/01/2020
                                           From ___________         to     12/31/2020
                                                                           ___________          Operating a business                        11,671,698.00
                                                                                                                                     $_____________________
                                                  MM / DD / YYYY            MM / DD / YYYY
                                                                                                Other
           For the year before that:             01/01/2019
                                           From ___________         to     12/31/2019
                                                                           ___________          Operating a business                        21,253,067.00
                                                  MM / DD / YYYY            MM / DD / YYYY                                           $_____________________
                                                                                                Other


 2. Non-business revenue
    Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected
    from lawsuits, and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

        None

                                                                                               Description of sources of revenue     Gross revenue from each
                                                                                                                                     source
                                                                                                                                     (before deductions and
                                                                                                                                     exclusions)

           From the beginning of the                                                                                                               0.00
                                                                                              ___________________________           $__________________
           fiscal year to filing date: From 01/01/2021
                                            ___________             to      Filing date
                                                  MM / DD / YYYY



           For prior year:                 From 01/01/2020
                                                ___________         to      12/31/2020
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________



           For the year before that:       From 01/01/2019
                                                ___________         to      12/31/2019
                                                                            ___________
                                                  MM / DD / YYYY             MM / DD / YYYY   ___________________________                          0.00
                                                                                                                                    $__________________




 Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 1
            Case 21-30409-mvl11 Doc 22 Filed 03/29/21                             Entered 03/29/21 18:06:11                        Page 2 of 18

Debtor
                 Electrotek Corporation
                 _______________________________________________________                                              21-30409-mvl
                                                                                               Case number (if known)_____________________________________
                 Name




 Part 2:        List Certain Transfers Made Before Filing for Bankruptcy

 3. Certain payments or transfers to creditors within 90 days before filing this case
    List payments or transfersincluding expense reimbursementsto any creditor, other than regular employee compensation, within 90
    days before filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be
    adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None

             Creditor’s name and address                       Dates          Total amount or value         Reasons for payment or transfer
                                                                                                            Check all that apply
     3.1.
              ALL4-PCB (North America) Inc.
             __________________________________________
                                                            Last 90 days
                                                              ________        $_________________
                                                                               7,277.60                          Secured debt
             Creditor’s name
              345 Mira Loma Avenue
                                                                                                                 Unsecured loan repayments
              Glendale, CA 81204-2912                         ________                                      
                                                                                                            ✔     Suppliers or vendors

                                                                                                                 Services
                                                              ________                                           Other _______________________________


     3.2.

              Allied High Tech Products Inc.                  ________
                                                            Last 90 days      $_________________
                                                                               9,210.41                          Secured debt
             __________________________________________
             Creditor’s name                                                                                     Unsecured loan repayments
              2376 E. Pacifica Place
              PO Box 4608                                     ________                                      
                                                                                                            ✔     Suppliers or vendors
              Compton, CA 90220                                                                                  Services
                                                              ________                                           Other _______________________________


 4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
    List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or
    guaranteed or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than
    $6,825. (This amount may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.)
    Do not include any payments listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their
    relatives; general partners of a partnership debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing
    agent of the debtor. 11 U.S.C. § 101(31).

     
     ✔      None

             Insider’s name and address                        Dates          Total amount or value        Reasons for payment or transfer
     4.1.

             __________________________________________      _________       $__________________
             Insider’s name

                                                             _________

                                                             _________


             Relationship to debtor
             __________________________________________



     4.2.    __________________________________________
             Insider’s name
                                                             _________       $__________________

                                                             _________

                                                             _________




             Relationship to debtor

             __________________________________________



Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 2
            Case 21-30409-mvl11 Doc 22 Filed 03/29/21                               Entered 03/29/21 18:06:11                         Page 3 of 18

Debtor
                 Electrotek Corporation
                 _______________________________________________________                                                   21-30409-mvl
                                                                                                    Case number (if known)_____________________________________
                 Name




 5. Repossessions, foreclosures, and returns
     List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor,
     sold at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.
           None
            Creditor’s name and address                         Description of the property                                  Date              Value of property
     5.1.
            TKO  Miller, LLC                                   Garnishment of bank accounts pursuant to                       02/2021
            __________________________________________                                                                       ______________      165,995.80
                                                                                                                                               $___________
                                                               Judgment entered on 02/16/2021
            Creditor’s name
            788 N. Jefferson Street
            Milwaukee, WI 53202




     5.2.
            __________________________________________
            Creditor’s name                                                                                                  _______________     $___________




 6. Setoffs

     List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account of
     the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a debt.
     None
    ✔
             Creditor’s name and address                          Description of the action creditor took                    Date action was      Amount
                                                                                                                             taken

             __________________________________________                                                                     _______________    $___________
             Creditor’s name




                                                                Last 4 digits of account number: XXXX– ________


  Part 3:       Legal Actions or Assignments

 7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
     List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor
     was involved in any capacity—within 1 year before filing this case.

           None
             Case title                               Nature of case                           Court or agency’s name and address               Status of case
            TKO Miller, LLC v. Electrotek                                                     Milwaukee County Circuit Court
     7.1.   Corporation                               Debt Dispute                                                                                 Pending

                                                                                                                                                   On appeal

             Case number                                                                      Milwaukee, WI                                     
                                                                                                                                                ✔   Concluded


      2021-cv-000091
             _________________________________

             Case title                                                                        Court or agency’s name and address
            Electrotek Corporation v. Acuity Brands                                           U.S. District Court, Northern District of         
                                                                                                                                                ✔   Pending
     7.2.
            Lighting LLC                                                                      Georgia                                              On appeal

             Case number
                                                                                                                                                   Concluded
                                                                                              Atlanta, GA

      1-20-cv-02472-LMM
             _________________________________


Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 3
            Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                 Entered 03/29/21 18:06:11                      Page 4 of 18

Debtor
                 Electrotek Corporation
                 _______________________________________________________                                                  21-30409-mvl
                                                                                                    Case number (if known)_____________________________________
                 Name




 8. Assignments and receivership
     List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the
     hands of a receiver, custodian, or other court-appointed officer within 1 year before filing this case.
     None
    ✔
             Custodian’s name and address                        Description of the property                        Value

             __________________________________________          ______________________________________             $_____________
             Custodian’s name
                                                                 Case title                                         Court name and address

                                                                 ______________________________________           __________________________________________
                                                                                                                  Name
                                                                 Case number


                                                                 ______________________________________
                                                                 Date of order or assignment

                                                                 ______________________________________

 Part 4:        Certain Gifts and Charitable Contributions

 9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value
     of the gifts to that recipient is less than $1,000
     None
    ✔
             Recipient’s name and address                        Description of the gifts or contributions                   Dates given           Value


     9.1.
            __________________________________________                                                                       _________________   $__________
            Recipient’s name


                                                                                                                             _________________   $__________




             Recipient’s relationship to debtor
             __________________________________________


            __________________________________________                                                                       _________________   $__________
     9.2. Recipient’s name



                                                                                                                             _________________    $__________




             Recipient’s relationship to debtor
             __________________________________________


 Part 5:        Certain Losses

 10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None
             Description of the property lost and how the loss   Amount of payments received for the loss                    Date of loss        Value of property
             occurred                                            If you have received payments to cover the loss, for                            lost
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.
                                                                 List unpaid claims on Official Form 106A/B (Schedule A/B:
                                                                 Assets – Real and Personal Property).
            Electrical transformer stopped working after
            electrical single phase. Needed to replace           364,786.00                                                  02/2020              300,000.00
                                                                 ___________________________________________                 _________________   $__________
            transformer and some equipment.


Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 4
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                              Entered 03/29/21 18:06:11                      Page 5 of 18

Debtor
                Electrotek Corporation
               _______________________________________________________                                                   21-30409-mvl
                                                                                                  Case number (if known)_____________________________________
               Name




 Part 6:      Certain Payments or Transfers

 11. Payments related to bankruptcy
     List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before
     the filing of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring,
     seeking bankruptcy relief, or filing a bankruptcy case.

          None

            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value

            Joyce W. Lindauer Attorney, PLLC
            __________________________________________        Included filing fee of $1,738.00
   11.1.                                                                                                                 03/2021
                                                                                                                         ______________      $_________
                                                                                                                                               11,750.00
            Address

            1412 Main Street
            Suite 500
            Dallas, TX 75202




            Email or website address
            _________________________________

            Who made the payment, if not debtor?

            AJ Babaria
            __________________________________________


            Who was paid or who received the transfer?        If not money, describe any property transferred            Dates              Total amount or
                                                                                                                                            value


   11.2.    __________________________________________
                                                                                                                         ______________      $_________
            Address




            Email or website address


            __________________________________________


            Who made the payment, if not debtor?

            __________________________________________

 12. Self-settled trusts of which the debtor is a beneficiary
     List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case to
     a self-settled trust or similar device.
     Do not include transfers already listed on this statement.

     
     ✔     None

            Name of trust or device                           Describe any property transferred                           Dates transfers    Total amount or
                                                                                                                          were made          value


            __________________________________________                                                                    ______________      $_________

            Trustee

            __________________________________________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                               page 5
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                               Entered 03/29/21 18:06:11                      Page 6 of 18

Debtor
                Electrotek Corporation
               _______________________________________________________                                                  21-30409-mvl
                                                                                                 Case number (if known)_____________________________________
               Name




 13. Transfers not already listed on this statement

     List any transfers of money or other propertyby sale, trade, or any other meansmade by the debtor or a person acting on behalf of the debtor
     within 2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs.
     Include both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.


     
     ✔     None

            Who received transfer?                             Description of property transferred or payments received   Date transfer       Total amount or
                                                               or debts paid in exchange                                  was made            value



   13.1.    __________________________________________                                                                    ________________     $_________

            Address




            Relationship to debtor

            __________________________________________




            Who received transfer?                                                                                        ________________     $_________

   13.2.    __________________________________________

            Address




            Relationship to debtor

            __________________________________________



 Part 7:      Previous Locations

 14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.

      Does not apply
     ✔
            Address                                                                                             Dates of occupancy


   14.1.                                                                                                       From       ____________       To   ____________




   14.2.                                                                                                       From       ____________       To   ____________




Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 6
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                 Entered 03/29/21 18:06:11                           Page 7 of 18

Debtor
                 Electrotek Corporation
                 _______________________________________________________                                                 21-30409-mvl
                                                                                                   Case number (if known)_____________________________________
                 Name




 Part 8:         Health Care Bankruptcies

 15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
      diagnosing or treating injury, deformity, or disease, or
      providing any surgical, psychiatric, drug treatment, or obstetric care?

     
     ✔     No. Go to Part 9.
          Yes. Fill in the information below.
            Facility name and address                        Nature of the business operation, including type of services the              If debtor provides meals
                                                             debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.1.    ________________________________________                                                                                       ____________________
            Facility name


                                                             Location where patient records are maintained (if different from facility
                                                             address). If electronic, identify any service provider.                       How are records kept?


                                                                                                                                           Check all that apply:

                                                                                                                                              Electronically
                                                                                                                                              Paper

                                                             Nature of the business operation, including type of services the              If debtor provides meals
            Facility name and address                        debtor provides                                                               and housing, number of
                                                                                                                                           patients in debtor’s care

   15.2.                                                                                                                                   ____________________
            ________________________________________
            Facility name


                                                             Location where patient records are maintained (if different from facility     How are records kept?
                                                             address). If electronic, identify any service provider.

                                                                                                                                           Check all that apply:
                                                                                                                                            Electronically
                                                                                                                                           Paper

 Part 9:         Personally Identifiable Information

 16. Does the debtor collect and retain personally identifiable information of customers?

     
     ✔     No.
          Yes. State the nature of the information collected and retained. ___________________________________________________________________
                 Does the debtor have a privacy policy about that information?
                 
                    No
                    Yes
 17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other
     pension or profit-sharing plan made available by the debtor as an employee benefit?

          No. Go to Part 10.
          Yes. Does the debtor serve as plan administrator?
                    No. Go to Part 10.
                 
                 ✔   Yes. Fill in below:
                        Name of plan                                                                           Employer identification number of the plan
                        401(k) - Sentry Insurance, Custodian
                        _______________________________________________________________________                EIN: XX-XXXXXXX
                                                                                                                    ___________________________________

                     Has the plan been terminated?
                      No
                     ✔
                           Yes



Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                   page 7
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                  Entered 03/29/21 18:06:11                       Page 8 of 18

Debtor            Electrotek Corporation
                  _______________________________________________________                                                21-30409-mvl
                                                                                                  Case number (if known)_____________________________________
                  Name




 Part 10:         Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

 18. Closed financial accounts
     Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
     moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions,
     brokerage houses, cooperatives, associations, and other financial institutions.

          None
            Financial institution name and address         Last 4 digits of account        Type of account             Date account was        Last balance
                                                           number                                                      closed, sold, moved,    before closing or
                                                                                                                       or transferred          transfer

   18.1.     First Business Bank
             ______________________________________        XXXX–__________                 
                                                                                           ✔ Checking                  10/01/2020
                                                                                                                       ___________________      $__________
                                                                                                                                                  0.00
            Name
             401 Charmany Drive
                                                                                            Savings
             Brookfield, WI 53045                                                           Money market
                                                                                            Brokerage
                                                                                            Other______________

   18.2.     ______________________________________        XXXX–__________                 Checking                  ___________________      $__________
            Name
                                                                                            Savings
                                                                                            Money market
                                                                                            Brokerage
                                                                                            Other______________

 19. Safe deposit boxes
     List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this case.

     
     ✔     None

              Depository institution name and address      Names of anyone with access to it            Description of the contents                  Does debtor
                                                                                                                                                     still have it?

             ______________________________________                                                                                                     No
            Name                                                                                                                                        Yes



                                                           Address




20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.

    
    ✔      None

              Facility name and address                    Names of anyone with access to it          Description of the contents                    Does debtor
                                                                                                                                                     still have it?
                                                                                                                                                       No
             ______________________________________
            Name
                                                                                                                                                       Yes



                                                            Address




Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 8
         Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                  Entered 03/29/21 18:06:11                     Page 9 of 18

Debtor
              Electrotek Corporation
              _______________________________________________________                                                 21-30409-mvl
                                                                                               Case number (if known)_____________________________________
              Name




 Part 11:       Property the Debtor Holds or Controls That the Debtor Does Not Own

 21. Property held for another
     List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in
     trust. Do not list leased or rented property.

     
     ✔   None

          Owner’s name and address                       Location of the property                   Description of the property                    Value

                                                                                                                                                  $_________
          ______________________________________
          Name




 Part 12:       Details About Environmental Information

 For the purpose of Part 12, the following definitions apply:
  Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material,
     regardless of the medium affected (air, land, water, or any other medium).
  Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor
     formerly owned, operated, or utilized.
  Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant,
     or a similarly harmful substance.

 Report all notices, releases, and proceedings known, regardless of when they occurred.


 22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.


     
     ✔   No
        Yes. Provide details below.
          Case title                                 Court or agency name and address               Nature of the case                        Status of case

          _________________________________                                                                                                       Pending
                                                     _____________________________________
          Case number                                Name                                                                                         On appeal

          _________________________________                                                                                                       Concluded




 23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
     environmental law?

     
     ✔   No
        Yes. Provide details below.

         Site name and address                       Governmental unit name and address             Environmental law, if known              Date of notice


          __________________________________         _____________________________________                                                    __________
          Name                                       Name




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 9
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                            Entered 03/29/21 18:06:11                     Page 10 of 18

Debtor
                Electrotek Corporation
                _______________________________________________________                                             21-30409-mvl
                                                                                             Case number (if known)_____________________________________
                Name




 24. Has the debtor notified any governmental unit of any release of hazardous material?
     
     ✔     No
          Yes. Provide details below.

            Site name and address                    Governmental unit name and address           Environmental law, if known                Date of notice


            __________________________________      ______________________________________                                                     __________
            Name                                    Name




 Part 13:          Details About the Debtor’s Business or Connections to Any Business


 25. Other businesses in which the debtor has or has had an interest
     List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
     Include this information even if already listed in the Schedules.

     
     ✔     None


            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
   25.1.    __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
   25.2.                                                                                                   Do not include Social Security number or ITIN.

                                                                                                           EIN: ________________________
            __________________________________
            Name                                                                                           Dates business existed



                                                                                                           From ___________              To ____________




            Business name and address                Describe the nature of the business                   Employer Identification number
                                                                                                           Do not include Social Security number or ITIN.

   25.3.                                                                                                   EIN: ________________________
            __________________________________
            Name
                                                                                                           Dates business existed




                                                                                                           From ___________              To ____________




Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                 page 10
         Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                 Entered 03/29/21 18:06:11                     Page 11 of 18

Debtor
                   Electrotek Corporation
                  _______________________________________________________                                               21-30409-mvl
                                                                                                 Case number (if known)_____________________________________
                  Name




 26. Books, records, and financial statements
     26a. List    all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.

                 None
              Name and address                                                                                Dates of service


              Mike Swerdlow                                                                                   From 04/01/1984
                                                                                                                   _______
   26a.1.     __________________________________________________________________________________
              Name
              7745 S. 10th Street, Oak Creek, WI 53154                                                        To _______




              Name and address                                                                                Dates of service

              Wipfli                                                                                          From 01/01/2009
                                                                                                                   _______
   26a.2.     __________________________________________________________________________________
              Name
              10000 Innovative Drive, Suite 250, Milwaukee, WI 53226                                            12/31/2018
                                                                                                             To _______




     26b.   List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial
            statement within 2 years before filing this case.
                 None

                    Name and address                                                                          Dates of service

                                                                                                                   01/01/2009
                    Wipfli                                                                                    From _______
         26b.1.     ______________________________________________________________________________
                    Name                                                                                         12/31/2020
                    10000 Innovative Drive, Suie 250, Milwaukee, WI 53226                                     To _______




                                                                                                              Dates of service
                    Name and address
                                                                                                                   01/01/2010
                                                                                                              From _______
         26b.2.
                    First Business Bank
                    ______________________________________________________________________________
                    Name                                                                                         10/31/2020
                                                                                                              To _______
                    401 Charmany Drive, Madison, WI 53045




     26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.
            
            ✔     None
                    Name and address                                                                          If any books of account and records are
                                                                                                              unavailable, explain why


         26c.1.     ______________________________________________________________________________
                    Name




Official Form 207                             Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                            page 11
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                               Entered 03/29/21 18:06:11                   Page 12 of 18

Debtor
                    Electrotek Corporation
                    _______________________________________________________                                            21-30409-mvl
                                                                                                Case number (if known)_____________________________________
                    Name




                     Name and address                                                                        If any books of account and records are
                                                                                                             unavailable, explain why


           26c.2.    ______________________________________________________________________________
                     Name




     26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial statement
          within 2 years before filing this case.

                   None

                     Name and address


           26d.1.    First Business Bank
                     ______________________________________________________________________________
                     Name
                      401 Charmany Drive, Madison, WI 53045




                     Name and address



           26d.2.    ______________________________________________________________________________
                     Name




 27. Inventories
     Have any inventories of the debtor’s property been taken within 2 years before filing this case?
           No
     
     ✔      Yes. Give the details about the two most recent inventories.



               Name of the person who supervised the taking of the inventory                    Date of       The dollar amount and basis (cost, market, or
                                                                                                inventory     other basis) of each inventory

              First Business Bank
              ______________________________________________________________________           _______        0.00
                                                                                                             $___________________

               Name and address of the person who has possession of inventory records


   27.1.       Audited inventory approx. every 4 months
               ______________________________________________________________________
              Name
               401 Charmany Drive
               Madison, WI 53045




Official Form 207                              Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                           page 12
           Case 21-30409-mvl11 Doc 22 Filed 03/29/21                             Entered 03/29/21 18:06:11                      Page 13 of 18

Debtor
                Electrotek Corporation
                _______________________________________________________                                              21-30409-mvl
                                                                                               Case number (if known)_____________________________________
                Name




            Name of the person who supervised the taking of the inventory                     Date of        The dollar amount and basis (cost, market, or
                                                                                              inventory      other basis) of each inventory

            ______________________________________________________________________          01/01/2021
                                                                                              _______         0.00
                                                                                                             $___________________

            Name and address of the person who has possession of inventory records


   27.2.    Mike Swerdlow and Dave Dratzke
            ______________________________________________________________________
            Name
            7745 S. 10th
            Oak Creek, WI 53154



 28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other
     people in control of the debtor at the time of the filing of this case.
   Name                                      Address                                                 Position and nature of any interest    % of interest, if any
 Dhirahlai J. Babaria                        435 Shady Lane, Southlake, TX 76092                     Owner and CEO                          30


 Ashwin J. Babaria                           1470 N. Kimball Avenue, Southlake, TX 76091             Owner                                  30


 Manu J. Babaria                             4491 Soda Ridge Road, Southlake, TX 76092               Owner                                  10


 Dalpat J. Babaria                           1212 Costa Azul Drive, Southlake, TX 76092              Owner                                  10


 Ajay A. Babaria                             1470 N. Kimball Avenue, Southlake, TX 76092             Owner                                  10


 29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?
     No
     
     ✔     Yes. Identify below.
   Name                                                                                               Position and nature of any   Period during which position
                                                Address                                               interest                     or interest was held
 Steven L. Dutton                              1801 E. Fork Drive, Phoenix, AZ 85048                   President
                                                                                                                                    _________ To _________
                                                                                                                                   01/01/2016    11/01/2020


                                                                                                                                     _________ To _________


                                                                                                                                     _________ To _________


                                                                                                                                     _________ To _________

 30. Payments, distributions, or withdrawals credited or given to insiders
     Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws,
     bonuses, loans, credits on loans, stock redemptions, and options exercised?
          No
     
     ✔     Yes. Identify below.
                                                                                     Amount of money or description     Dates               Reason for providing
            Name and address of recipient                                            and value of property                                  the value

   30.1.    Mike Swerdlow                                                                                                                  2020 Annual Salary
            ______________________________________________________________            95,992.00
                                                                                      _________________________         _____________
            Name
            161 W. Trillum Terrace
            Oak Creek, WI 53154                                                                                         _____________


                                                                                                                        _____________

            Relationship to debtor                                                                                      _____________
            CFO
            ______________________________________________________________                                              _____________
Official Form 207                           Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                              page 13
          Case 21-30409-mvl11 Doc 22 Filed 03/29/21                                   Entered 03/29/21 18:06:11                    Page 14 of 18

Debtor
                   Electrotek Corporation
                   _______________________________________________________                                                 21-30409-mvl
                                                                                                    Case number (if known)_____________________________________
                   Name




              Name and address of recipient
                                                                                            __________________________     _____________

   30.2       ______________________________________________________________
              Name                                                                                                         _____________

                                                                                                                           _____________



                                                                                                                           _____________


              Relationship to debtor                                                                                       _____________

              ______________________________________________________________



 31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?
     
     ✔       No
            Yes. Identify below.
              Name of the parent corporation                                                              Employer Identification number of the parent
                                                                                                          corporation

              ______________________________________________________________                             EIN: ____________________________



 32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?
            No
     
     ✔       Yes. Identify below.

              Name of the pension fund                                                                    Employer Identification number of the pension fund
              401(k) - Sentry Insurance, Custodian
              ______________________________________________________________                             EIN: XX-XXXXXXX
                                                                                                              ____________________________




 Part 14:            Signature and Declaration


             WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
             connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
             18 U.S.C. §§ 152, 1341, 1519, and 3571.

             I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information
             is true and correct.

             I declare under penalty of perjury that the foregoing is true and correct.

             Executed on       03/29/2021
                               _________________
                                MM / DD / YYYY



              /s/ Mike Swerdlow
              ___________________________________________________________                              Mike Swerdlow
                                                                                          Printed name _________________________________________________
              Signature of individual signing on behalf of the debtor

                                                 Chief Financial Officer
              Position or relationship to debtor ____________________________________




         Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
             No
         
         ✔    Yes




Official Form 207                                  Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                          page 14
        Case 21-30409-mvl11 Doc 22 Filed 03/29/21                      Entered 03/29/21 18:06:11                    Page 15 of 18
               Electrotek Corporation                                                                       21-30409-mvl
 Debtor Name                                                                       Case number (if known)



                                            Continuation Sheet for Official Form 207
3) Certain payments or transfers to creditors within 90 days before filing this case

Aptean Inc., PO Box                     $10,751.49                              Services
743722, Atlanta, GA
30374-3722

Arlon Electronic                        $46,781.90                              Suppliers or vendors
Materials, 9433 Hyssop
Drive, Rancho Cucamonga,
CA 91730

Buehler, a Division of                  $7,474.35                               Suppliers or vendors
Illinois Tool Works, Inc.
 39343 Treasury Center,
Chicago, IL 60694-9300

Chema Technology, PO Box                $19,861.75                              Suppliers or vendors
847, Brookfield, WI
53008-0847

Cintas Corporation, PO                  $7,008.00                               Services
Box 88005, Chicago, IL
60680

Delta Dental of                         $10,751.49                              Services
Wisconsin, PO Box 518,
Wisconsin Rapids, WI
54495

Digi-Key Electronics, PO                $22,709.94                              Suppliers or vendors
Box 150, Thief River
Falls, MN 56701

Excellon Acquisition LLC,               $15,874.80                              Suppliers or vendors
 File No. 57346, Los
Angeles, CA 90074-7346

FedEx, PO Box 94515,                    $7,032.93                               Services
Palatine, IL 60094-4515

Hydrite Chemical Co., PO                $26,275.61                              Suppliers or vendors
Box 689227, Chicago, IL
60695-9227

Insulectro, Attn: Credit                $279,340.48                             Suppliers or vendors
Department 20362 Windrow
Drive, Lake Forest, CA
92630

Life Insurance North                    $6,985.13                               Services
America, PO Box 782447,
Philadelphia, PA
19178-2447

Macdermid Inc., Mail                    $39,593.38                              Suppliers or vendors
Code 5283 PO Box 660367,
Dallas, TX 75266-0367

Meredith's Culligan                     $8,876.40                               Suppliers or vendors




  Official Form 207                        Statement of Financial Affairs for Non-Individuals
        Case 21-30409-mvl11 Doc 22 Filed 03/29/21                      Entered 03/29/21 18:06:11                    Page 16 of 18
               Electrotek Corporation                                                                       21-30409-mvl
 Debtor Name                                                                       Case number (if known)



                                            Continuation Sheet for Official Form 207
Water, 1531 13th Avenue
PO Box 373, Union Grove,
WI 53182

Micronutrients, Attn:                   $6,926.43                               Suppliers or vendors
Accounts Receivable PO
Box 8, Highland, IL 62249

Oak Creek Water & Sewer,                $69,358.21                              Utility services
PO Box 673115, Chicago,
IL 60695-3215

Orbotech Inc., Dept. LA                 $40,437.50                              Services
24620, Pasadena, CA
91185-4620

Owens Industries Inc.,                  $17,962.00                              Suppliers or vendors
7815 South 6th Street,
Oak Creek, WI 53154-2023

Pieper Electric Inc., PO                $58,995.50                              Suppliers or vendors
Box 88601, Milwaukee, WI
53288-8601

Rogers Corporation,                     $10,000.00                              Suppliers or vendors
26995 Network Place,
Chicago, IL 60673-1269

Sentry Insurance, Sentry                $54,677.45                              Services
Business Products PO Box
8019, Stevens Point, WI
54481-8019

Taiyo America Inc, 2675                 $38,500.98                              Suppliers or vendors
Antler Drive, Carson
City, NV 89701

TCT Circuit Supply Inc,                 $13,615.98                              Suppliers or vendors
560 S Melrose St,
Placentia, CA 92870

Technic Inc, Accounts                   $63,201.32                              Suppliers or vendors
Receivable PO Box 9650,
Providence, RI 02940-9650

Ultra Tool &                            $8,509.32                               Suppliers or vendors
Manafacturing, W194
N11811 McCormick Drive,
Germantown, WI 53022

UPS Freight, 28013                      $15,613.42                              Services
Network Place, Chicago,
IL 60673-1280

Uyemura International                   $115,053.17                             Suppliers or vendors
Corp, 3990 Concours
Street Suite 425,
Ontario, CA 91764

Valley Labs Inc, 3529                   $39,800.00                              Services




  Official Form 207                        Statement of Financial Affairs for Non-Individuals
        Case 21-30409-mvl11 Doc 22 Filed 03/29/21                      Entered 03/29/21 18:06:11                    Page 17 of 18
               Electrotek Corporation                                                                       21-30409-mvl
 Debtor Name                                                                       Case number (if known)



                                            Continuation Sheet for Official Form 207
Old Conejo Droad Suite
112, Newbury Park, CA
91320

Ventec USA LLC, Dept CH                 $14,225.44                              Suppliers or vendors
19171, Chicago, IL
60051-9171

Veolia Environmental                    $21,613.49                              Services
Services, PO Box 73709,
Chicago, IL 60673-7709

WE Energies, PO Box                     $115,515.93                             Utility services
90001, Milwaukee, WI
53290-0001

Woods & Associates, 2512                $66,199.92                              Suppliers or vendors
Clearbrook Drive,
Arlington Heights, IL
60005-4652

Paycom, 7501 W. Memorial                $787,409.17                             Services
Dr., Oklahoma City, OK
73142

Humana, 500 W. Main St.,                $100,622.08                             Services
Louisville, KY 40202

IEC USA Inc., 809 Aldo                  $59,562.11                              Suppliers or vendors
Avenue Unit 104, Santa
Clara, CA 95054

AV Tech / Tetra, 11645 S.               $51,893.68                              Services
 E Street Suite 200,
Draper, UT 84020

Celtic Leasing, Dept.                   $43,998.00                              Services
10295 PO Box 87618,
Chicago, IL 60680

Pawnee Lease, 3801                      $25,206.60                              Services
Automation Way Suite 207,
 Fort Collins, CO 80525

Circuit Solutions LLC,                  $12,200.00                              Suppliers or vendors
3012 Cedar Crossing,
Minnetonka, MN 55305

Ahmad & Guerard LLP,                    $10,125.00                              Services
4915 S. Howell Avenue
Suite 300, Milwaukee, WI
53207

Blanca's Cleaning                       $10,000.00                              Services
Services LLC, 1437 W.
Foster Avenue, Milwaukee,
 WI 53221

Steven L. Dutton, 1801 E.               $9,804.04                               Other
 Ford Drive, Phoenix, AZ




  Official Form 207                        Statement of Financial Affairs for Non-Individuals
        Case 21-30409-mvl11 Doc 22 Filed 03/29/21                      Entered 03/29/21 18:06:11                      Page 18 of 18
               Electrotek Corporation                                                                         21-30409-mvl
 Debtor Name                                                                         Case number (if known)



                                            Continuation Sheet for Official Form 207
85048

The Robbins Firm, 500                   $7,869.50                               Services
14th Street NW, Atlanta,
GA 30318

Douglas C. Jeffery, 8212                $7,582.50                               Services
S. 79th Street, Franklin,
 WI 53132

Grunau Company, PO Box                  $7,087.50                               Suppliers or vendors
74008409, Chicago, IL
60674-8409

Zorn Compressor &                       $6,833.51                               Services
Equipment, 1335 E.
Wisconsin, Pewaukee, WI
53072

Michael J. Swerdlow, 161                                                        Other
W. Trillium Terrace, Oak
Creek, WI 53154

JPMorgan Chase,                         $9,302.32                               Credit card debt

JPMorgan Chase,                         $21,751.97                              Credit card debt


28) Additional people in control of the debtor at the time of the filing of this case

Rajan D. Babaria                        435 Shady Lane,                         10
                                        Southlake, TX 76092

Michael J. Swerdlow                     161 W. Trillum Terrace,                 0
                                        Oak Creek, WI 53154




  Official Form 207                        Statement of Financial Affairs for Non-Individuals
